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IN THE UNITED STATES DISTRICT COURT FOR THECLERK'S OFFICE U.S. DIST. COURT
AT GHARLOTTESVILE, VA

WESTERN DISTRICT OF VIRGINIA FILED
SEP 20 2021

Charlottesville Division

Elizabeth Sines, et al

 

Plaintiffs
v Case No: 3:17-cv-072-NKM
Jason Kessler, et al

Defendants

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MOTION IN LIMINE FOR A DETERMINATION THAT PLAINTIFFSS
CLAIMS AROSE EX TURPI CAUSA AND THUS ARE BARRED IN PARI DELICTO

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Comes Now the Defendant, Christopher Cantwell, and, he Moves This
Court In Limine For A Determination That Plaintiffs' Claims Arose Ex
Turpi Causa And Thus Are Barred In Pari Delicto. In support, Cantwell]

states as follows:

Standards

1) The Commonweaith of Virginia prohibits a party from recovering dam-
ages for any tort arising ex turpi causa from the Plaintiff's con-
scious actions under the doctrine of in pari delicto. Lee v Nat-
jonwide Mut-Ins Co 255 Va 279 (Va 1998). This doctrine was ex-
plained in Miller v Bennett 190 Va 162 (Va 1949) as follows:
"tex dolo malo no orttur actio’. No court shall] lend its aid to
a man who founds his cause of action on immoral or illegal acts.
If, from the Plaintiff's own stating or otherwise, the cause of
action appears to arise ex turpi causa or from the transgression
of a positive Taw of the country, there the court says he has no
right to be assisted. It is upon that ground that the Court goes;

not for the sake of the Defendant, but, because they will not

lend their aid to such a Plaintiff."
citing Hotman v_ Johnson 98 Eng Rep 1120 (KB 1775) (Eng).

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"This principle applies to civil actions whether based in tort or
contract. When applied to actions in tort, it is said that consent
or participation in any immoral or unlawful act by a Plaintiff pre-
cludes recovery for injuries as a result of that act, on the maxim
volenti non fiat injuria.”

Milter

This doctrine, the tort equivalent of unclean hands, ts also -recog-

nized by federal common law. see, eg, Bateman Eizhler Hill Richards

Inc v Berner 472 US 299 (1985); Pinter v Dahl 486 US 622 (1985).

Prior Assertion

2) In his Answer to the Second Amended Complaint, a copy of which is
still not available to Cantwell, Cantwell stated that, on August 11,
2017, Plaintiffs Romero and Doe appeared in the company. of unlawfully
armed members of the Antifa terror organization, al] weapons be barred
on the University of Virginia campus, who brandished their weapons
and assaulted him. While Cantwell did not describe this affirmative
defense in Latin, aS a pro se Plaintiff he was not required to. see,
eg, Erickson v Pardus 551 US 89 (2007) (TA document filed pro se fs
liberally construed.") An affirmative defense is merely “a response
to a Plaintiff's claim", and, thus, as long as Cantwell presented the
factual basis for the défense, a defense of in pari delicto may be
construed from his Answer. see, eg, Willner v Dimon 849 F 3d 93
(4th Cir 2017) (asking that an affirmative defense be construed from
a counter claim) citing Am First Fed Inc v Lake Forest Park, Ine 198
F 3d 1259 (1ith Cir 1999).

August 11 Claims

3) Inu his Response to Plaintiff's Motion For Sanctions Against Defend-

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ant Matthew Heimbach, Cantwell] laid out the facts that he believes
the evidence presented at trial will show; he is still without the
-ability. to print exhibits to share with the Court. Cantwell now
incorporates by reference this exposition of the expected factual

showing regarding the August 11, 2017, torchlit march at the Thomas

Jefferson statue.

4) Cantwell is charged with substantive acts in violation of Va Ann
Code §8.01-42.1 as well as conspiracy and substantive assault for
the events of August 11, 2017. Va Ann Code §8.01-42.1 prohibits
both “intimidation and harassment" and “violence against [the] per-

son" "motivated by racial, religious, or ethnic animosity."

5) The evidence at trial will show that the Plaintiffs, knowing that
the Defendants were holding a march at which racially, religiously,
and ethnically charged statements were: made, voluntarily attended
that march with the intent of exposing themselves to what they now
call “harassment and intimidation" in order to oppose those state-
ments. Because the Plaintiffs voluntarily participated in and
sought out exposure to Béfendantss racially, religiously, and;
ethnically charged statements, the Plaintiffsicannot claim a
cause of action for “harassment and intimidation" related to speech

the voluntarily sought to receive, volunti non fiat injuria.

6) The Plaintiffs also knowingly and willingly appeared in the company
of unlawfully armed members of the Antifa domestic terror. organiz-
ation for the common purpose of "confronting" Cantwell and his fel=
low peaceful demonstrators, then unlawfully conducted an aggravated

armed mob assault on Cantwell and his fellow Defendants. Even if.

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some individual *Plaintiff may claim -- and many can't -- that they

did not know their fellow terrorists' intent was to commit armed

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mob assault, or, that the Antifa are a vigilante terror organization,
each Plaintiff knew: that a substantial number of their fellow mob
members were brandishing or carrying unlawful weapons, and, that

their presence was aiding and abetting whatever purpose those weapons

had been produced for. This is not a case where the Plaintiffs show-

ed up peacefully planning to sing Kumbaya. The acts that followed
August 11, 2017, were the direct result of the Plaintiffs associating
with an unlawfully armed vigilante terror group, much like the Ku
Kiax Kian of the 1870s is alleged to have been, and, thus, those acts
snow complained of Ex Turpi Causa. Because the law does not assist
those who go masked upon the highways with the intent to rob or ob+
struct fellow travellers, Plaintiff's claims are barred in pari -del-

ictc.

August 12 Wispelwey

7)

Cantwell does not believe that the Plaintiffs can in any way link
him to the alteged torts committed on August 12th, either against
. Seth Wispelwey or by James Fields. However, he also believes that
these claims, too, arise ex turpi causa, and, thus, that the Court
Should not lend these:claims its assistance. As to the alleged
assault on Wispelwey, Cantwell believes that the evidence will show
that:
a) Wispelwey is a self-appointed pastor in Charlottesville, Virginia;
b) on £Adgust 11, 2021, prior the events at the Thomas Jefferson
statue on the University of Virginia campus, Wispelwey hosted
a “delegation” from the Antifa terror organization at his church
which informed Wispeiwey of their intent to commit armed criminal
acts of terrorism and which received Wispelwey's blessing to do

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c)

d)

e)

f)

 

On . August 11 _ 2017, Wispelwey stated

to the above delegation that he “embraced
the diversity of tactics", meaning that he endorsed their use
of armed vigilante violence;

On August 12, 2017, Wispelwey appeared in-the middle of a public
roadway in Charlottesville, Virginia, with what he terms a
“battalion of Antifa", many of whom were unlawfully brandishing
clubs, shields, and, pepper spray, items that Wispelwey later
described as “community defense tools";

Wispelwey‘'s purpose of appearing in the midst of a public road-
way with members of an armed terror organization whom he knew
planned:-to use arms to commit acts of vigilante terrorism was
to aid and abet that terrorism and to waylay the Gefendants as
they travelled on the poblic roads;

the events that followed on August 12, 2017, arise ex turpi
cause of the criminal intent of Wispelwey to aid and abet fel~

ony aggravated felony mob violence against the Defendants.

8) Wispelwey is really one of the least sympathetic characters among

this crop of Plaintiffs. He is an outright violent criminal and

felon; who uses the woke elements of the American power structure

as a cloak for his crimes. S8ecause any assault on Wispelwey arose

from his unlawful act of joining an armed mob which he knew planned

to commit acts of vigilante violence, his claims for having been

assaulted to subjected to violence against his person arise ex turpi

causa and must not receive assistance from this court.

August 12 Fields Car Accident

9) Cantwell understands that James Fields has been wrongfully convict-

ed in both state and federal court as regards his car accident: of
 

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10)

accident of August 12, 2017. However, Cantwell was not a party

to Fields' prosecutions and did not have a "full and fair opport-
unity" to contest Fields' guilt. Thus, Fields' prosecutions have

no preclusive effect on a claim of in pari delicto arising in these
civil proceedings. see, eg, Duckett v Fuller 819 F 3d 740 (4th Cir
2016) (elements of claim preclusion require fdentity or privity of
actors); Collins v Pond Creek Mining Co 468 F 3d 213 (4th Cir 2006)
(elements of issue prectusion require that the party against whom
the doctrine is invoked have had a “full and fair" chance to liti-

gate the issue in prior litigation).

Cantwell believes that the following facts wil? be established at

“trial regarding the Field's car accident:

a) Dwayne Dfixon is a member of the Antifa domestic terror affiliate
Redneck Revolt, based in North Carolina;

b) Dixon travelled in interstate commerce from North Carolina to
Charlottesville, Virginia, with an AR-15 assault weapon for the
purpose of committing acts of terrorism;

c) OnxAugust 12, 2017, James Fields was travelling in interstate
commerce with his GPS set on his home address in Ohio, having
just dropped off a number of his fellow protestors atitheir
cars;

d) Ffelds was unaware that Dixon and others, including the Plaint-
iffs were laying in wait on a public highway unlawfully armed
and planning to.waylay travellers;

e) There is a video of Dwayne Dixon confessing to armed assault
on Fields by pointing an AR-15 rifle at Fields just prior to
Fields’ car accident;

f) There is a video showing that Fields was fleeing Dixon when

he encountered the Plaintiffs as part of an armed mob whose

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11)

members were brandishing baseball bats, btocking public right of

ways, and, chanting “Whose streets? Our streets;"

g) There is video showing that members of the armed mob, unlawful~
ly brandishing baseball bats, unlawfully began to strike Fields‘
car with baseball] bats as part an effort to deny Fields his
right to travel on the public roads;

h) There: is. video showing that Fields initially hit his brakes
when he encountered the mob, but, when his car was unlawfully.
struck by members of the unlawfully armed mob, he panicked and
hit his accelerator, striking the Plaintiffs;

i) That the unlawfully brandished weapons and the intent of the
mob to commit unlawful acts was obvious to the Plaintiffs and
that voluntarily aided and abetted such crimes when they chose

to join the criminal mob.

Apparently, some Republicans had introduced proposals in various
legislatures to de-criminalize striking a mob:with your car when
it was blocking a public roadway, and, the Plaintiffs intend to
make much of discussions spunred among some of the Defendants re-
garding this law. The law does not permit someone to datéberately
drive a vehicle into a mob because the state has an interest in.
protecting order and escalating violence is contrary to that int-
erest. However, a private party who chooses to join an armed mob,
one that is unlawfully brandishing weapons and whose members are
using those weapons to wayltay travellers on the public roads, does
not have recourse under tort law in pari delicto against a party
who strikes them with their car. Plaintiffs' claims as to the
Fields’ car accident were the natural result of their aiding and
abetting criminal activity and they have no recourse to the Courts

for their injuries.
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Thus, for good cause shown, and, for an evidentiary showing that Cantwell
hopes to make at trial or at a hearing, given his current circumstances,
Cantwell asks that thé§ Court determine in limine that Plaintiffs’ claims

arise ex turpi causa and are thus barred in pari delicto.

Respectfully Submitted,

bo Lg
Christopher Cantwell
USP-Marion

kRQ Box 1000
Marion, IL 62959

 

CERTIFICATE OF SERVICE

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I herbey certify that this Motion in Limine was mailed to the Clerk of
the Court, lst Class Postage Prepaid, for posting on the ECF, to which
all parties are subscribed, and, was handed to USP-Marion staff members
Nathan Simpkins and/or Kathy Hill for electronic transmission to the

Court this 20th day of September, 2021.

 
